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                          Exhibit L
Case 2:19-cv-08109-SVW-MAA Document 46-19 Filed 10/26/20 Page 2 of 5 Page ID #:494


       yo,~~                  COUNTY. OF LOS ANGELES
   +~~h        ~~~^N+         OFFICE OF THE COUNTY COUNSEL
   t               f              648 E:ENNETH HAHN HALL OF ADMW[STRATION
    k ~            r                      500 WEST TEMPLE STREET
     x           x
       ~~4ror.M~                     LOS ANGELES, CAL[FO RNIA 90012-2713              TELEPHONE
                                                                                     (213)974-1913
MARY C. WICKHAM                                                                       FACSIMILE
  County Counsel .                             Aprii 8, 2019                         (213)687-8822
                                                                                      TDD
                                                                                     (213)633-0901
           Michael S. Devereux, Esq.
           WEX LAW
           Wedbush Building
           1000 Wilshire Boulevazd, Suite 2150
           Los Angeles, California 90017

                        Re:   Claim Presented:                    November 25,2014
                              Amendment Presented:                April 4,2019
                              File Number:                        XX-XXXXXXX*001
                              Your Client:                        Daniel Nersoyan
          Deaz Counselor:

                  On April 4,2019, the County of Los Angeles, Boazd of Supervisors
          received an amendment to your claim. Because the amendment is untimely, no
          acrion was taken on it. See Section 910.6 of the Government Code.

                  This letter is to remind you that the claim that you presented to the County
          of Los Angeles, Boazd of Supervisors on November 25,2014, was previously
          rejected. Please reference the dates and deadlines per our previous
          correspondence to you dated January 15, 2015, and enclosed for your reference.

                  You may seek the advice of an attorney of your choice in connection with
          this matter. If you desire to consult an attorney, you should do so immediately.

                                                      Very truly yours,

                                                      MARY C. WICKI-IAM
                                                      County Counsel


                                                        Y
                                                            L~3~Y YOSHIYAMA
                                                            Deputy County Counsel
                                                            General Litigation Division

          LY:ce

          Enclosure


          HOA.I02513059.1
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                                                 PROOF OF SERVICE

                                                 File No.XX-XXXXXXX*001
         ~ STATE OF CALIFORNIA, County of Los Angeles:

                Cazolyn Edwazds states: I am employed in the County of Los Angeles, State of California,
         over the age of eighteen years and not a party to the within action. My business address is 648
         Kenneth Hahn Hall of Administration, 500 West Temple Street, Los Angeles, California 90012-
         2713.

                  That on April         2019, I served the attached
                          NOTICE OF UNTIMELY AMENDMENT AFTER FINAL ACTION

                upon Interested Party(ies) by placing D the original ❑ a true copy thereof enclosed in a
    9 , sealed envelope addressed ❑O as follows ❑ as stated on the attached service list:

   10                      Michael S. Devereux, Esq.
                           WEX LAW
   11                      Wedbush Building
                           1000 Wilshire Boulevazd, Suite 2150
   12'                     Los Angeles, California 90017
   13             ~        By United States mail I enclosed the documents in a sealed envelope or package
                           addressed to the persons at the addresses on the attached service list(specify one):
   14
                (1) ❑deposited the sealed envelope with the United States Postal Service, with the
   15                  postage fully prepaid.
   16           (2) O placed the envelope for collection and mailing, following ordinary business
                      practices. I am readily familiar with this business's practice for collecting and
   17                 processing correspondence for mailing. On the same day that correspondence is
                      placed for collection and mailing, it is deposited in the ordinary course of business
   18                 with the United States Postal Service, in a sealed envelope with postage fully
                      prepaid.
   19
                           I am a resident or employed in the county where the mailing occurred. The
  20                       envelope or package was placed in the mail at Los Angeles, California:

  21           I declare under penalty of perjury under the laws ofthe State of California that the
        foregoing is true and correct.
  22
                 Executed on April~SG✓,2019, at Los Angeles~alifornia.
  23

  24
                   Carolyn Edwards                                    ~~                       ~
  25           (NAME OF DECLARANT)                                 (SIGN      I    ~ OF DECLARANT)
  26

  27

  28


        HOA.1025t2908.t
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                   ~{
                                  COUNTY
                                     _,  OF LOS ANGELES                                                      ,'~ ._
                                                       _ ._..
                                  OFFICE OF THE COUNTY COUNSEL
                                       b48 KENNHTH HAHN HALL OF ADMINISTRA710N      ~   -
     ~                f                         500 WEST TEMPLE STREET
         Y.          /
          G~                               LOS AN6ELE5, CALIFORNIA 90012-2713                TELEPHONE
                                                                                             (213)974(913
                                                                                             FACSQdILE
   MARK J, SALADINO
    County Counsel                                                                          (2t3)687-6ffi2
                                                   January 15, 2015
                                                                                             7DD
                                                                                            (213)633-0901

                  Daniel Nersoyan
                  10290 Nelson Rd.
                  Moorpazk, CA 93021

                            Re:   Claims)Presented:                      November 25,2014
                                  File Number(s):                        XX-XXXXXXX*001

                  Dear Claimant:

                          Notice is hereby given that the claim that j~ou presented tothe
                  County of Los Angeles, Board ofSupervisors on November 25,2014, was
                  rejected by operation oflaw on January 9,2015. No further action will be taken
                  on this matter.
                                                       ~ .• ~

                          Subject to certain exceptions, you have only six (6~ months from the date
                  this notice was personally delivered or deposited in the mail to file a court acrion
                  on this Claim, See Government Code Section 945.6.

                         This time limitation applies only to causes of action for which
                  Government Code Sections 900 - 915.4 require you to present a claim. Other
                  causes of action,including those arising under federal law, may have different
                  time limitations.

                          You may seek the advice of an attorney of your choice in connection with
                  this matter. If you desire to consult an attorney, you should do so immediately.

                                                             Very truly yours,

                                                             MARK 7. SALADINO
                                                             County     el                  '~


                                                                                 SEN
                                                                  Principal Deputy County Counsel
                                                                  General Litigation Division
                  „1 l~g~



                  HOA1123852.t
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     Y                                              PROOF OF SERVICE
     2                                             File No.XX-XXXXXXX*001
     3 ~ STATE OF CALIFORNIA,CounTy ofLos Angeles:
     4               Carolyn Edwards states: I am employed in the County of Los Angeles, State of California,
              over the age of eighteen years and not a party to the within action. My business address is 648
              Kenneth Hahn Hall of Administration, 500 West Temple Street, Los Angeles, California 90012-
              2713
                      That on Tanuary 1 ~2015,I served the attached
                                                 NOTICE DENIAL LETTER
                      upon Interested Party(ies) by placing m the original ❑ a true copy thereofenclosed in a
              sealed envelope addressed m as follows ❑ as stated on the attached service list:
    10                        Daniel Nersoyan
                              10290 Nelson Rd.
    11                        Moorpark, CA 93021
    12                ~       By United States mail.,I enclosed the documents in a sealed envelope or package
                              addressed to the persons at the addresses on the attached service list(specify one):
    13
                    (1) ❑ deposited the sealed envelope with the United States Postal Service, with the
    14                    postage fully prepaid.
    15               (2) ~ placed the envelope for collection and mailing,following ordinary business
                           practices. I am readily familiar with this business's practice for collecting and
   ~ 16                    processing correspondence for mailing. On the same day that correspondence is
          ,                placed for collection and mailing, it is deposited in the ordinary course ofbusiness
    17                     with the United States Postal Service,in a sealed envelope with postage fully
                           prepaid.
    18.
                              I am a resident or employed in the county-where the mailing occurred. The
    19                        envelope or package was placed in the mail at Los Angeles, California:
    20               I declare under penalty of pequry under the laws ofthe State ofCalifornia that the
              foregoing is true and correct.
    21
                      Executed on January~2015,at Los Angeles, California.
    22
    23
                         Carolyn Edwards
    24               (NAME OF DECLARANI~                                                OF
    25
    26
    27
    28


              xoa.i~z~a~~.i
